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                                 UNITED STATES DISTRICT COURT
 8
                                NORTHERN DISTRICT OF CALIFORNIA
 9
                                       OAKLAND DIVISION
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11    WHATSAPP INC., a Delaware corporation,       Case No. 4:19-cv-07123-PJH
      and FACEBOOK, INC., a Delaware
12    corporation,                                 [PROPOSED] ORDER GRANTING
                                                   MOTION TO SUBSTITUTE
13                Plaintiffs,                      DEFENDANTS’ EXPERT JOHN TOWN
14          v.                                     Judge: Hon. Phyllis J. Hamilton
15    NSO GROUP TECHNOLOGIES LIMITED
      and Q CYBER TECHNOLOGIES LIMITED,
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                  Defendants.
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        [PROPOSED] ORDER GRANTING                                       Case No. 4:19-cv-07123-PJH
        MOTION TO SUBSTITUTE EXPERT
     Case 4:19-cv-07123-PJH        Document 480-6         Filed 12/11/24      Page 2 of 2




 1          This Court, having fully considered Defendants’ Motion to Substitute Defendants’ Expert

 2    John Town, and good cause therefor appearing, hereby GRANTS Defendants’ motion.

 3       1. Defendants may substitute Joshua Minkler for John Town as a witness.

 4       2. The existing deadline for expert discovery is extended until January 8, 2025, for the limited

 5          purpose of permitting Plaintiffs to depose Mr. Minkler.

 6       3. The existing deadline for any expert discovery motions, motions in limine and Daubert

 7          motions related to Mr. Minkler is extended to January 15, 2025.

 8       4. All other deadlines and scheduled dates previously ordered remain in effect.
 9          IT IS SO ORDERED.
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11     DATED: _________________
12                                              THE HONORABLE PHYLLIS J. HAMILTON
                                                SENIOR UNITED STATES DISTRICT JUDGE
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        [PROPOSED] ORDER GRANTING                                              Case No. 4:19-cv-07123-PJH
        MOTION TO SUBSTITUTE EXPERT
